                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION


UNITED STATES OF AMERICA                     )       DOCKET NO. 3:04CR274-MU
                                             )
              vs.                            )       ORDER FOR DISMISSAL
                                             )         INDICTMENT
(13) OR CHAN                                 )


       Leave of Court is hereby granted for the dismissal of the Bill of Indictment (as it pertains

to OR CHAN only) in the above-captioned case without prejudice.

       The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshall Service, Defense Counsel and the United States Attorney's Office.




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                         Signed: October 3, 2005




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